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Eastern District of Kentucky
UNITED STATES DISTRICT COURT FILED
EASTERN DISTRICT OF KENTUCKY
SOUTHERN DIVISION APR 25 2019
LONDON AT LONDON

ROBERT R. CARR

UNITED STATES OF AMERICA CLERK U.S. DISTRICT COURT

Vv. INDICTMENT NO. 6: 19-C& 4a £48

ANTOINE THOMPSON,
STEPHEN D. BARNES,
MARHSALL A. MONROE, and
GREGORY T. ABBOTT

THE GRAND JURY CHARGES:
COUNT I
18 U.S.C. § 1111
18 U.S.C. § 2
On or about May 3, 2014, at the United States Penitentiary McCreary, a place
within the special maritime and territorial jurisdiction of the United States, in the Eastern
District of Kentucky.
ANTOINE THOMPSON,
aided and abctted by others, willfully, delibcrately, maliciously, and with premeditation
and malice aforethought. did unlawfully kill Courtney D. Jones. all in violation of 18
U.S.C. §§ 2 and 111 1(a),
COUNT 2
18 U.S.C. § 1118
18 U.S.C. § 2

On or about May 5, 2014, at the United States Penitentiary McCreary, a Federal
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correctional institution in McCreary County, in the Eastern District of Kentucky.
ANTOINE THOMPSON,
aided and abetted by others, murdered Courtney D. Jones while under a sentence for a
term of life imprisonment, all in violation of 18 U.S.C. §§ 2 and 1118.
COUNT 3
18 U.S.C. § 1111
18 U.S.C. § 2
On or about May 5, 2014. at the United States Penitentiary McCreary. a place
within the special maritime and territorial jurisdiction of the United States, in the Eastern

District of Kentucky,

STEPHEN D. BARNES and
MARSHALL A. MONROE,

aided and abetted by each other and others, with malice aforethought, did unlawfully kill
Courtney D. Jones, all in violation of 18 U.S.C. §§ 2 and 11 11a).

COUNT 4
18 U.S.C. § 113(a)(3)

On or about May 5, 2014, in McCreary County, in the Eastern District of
Kentucky, within the boundaries of United States Penitentiary McCreary, an area within
the special maritime and territorial jurisdiction of the United States,

GREGORY T. ABBOTT
did assault the person of M.M.M., with a dangerous weapon, to wit: an approximately six
(6) inch sharpened picce of plastic (a shank), with the intent to do bodily harm, all in

violation of 18 U.S.C. § 113(a)(3).
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COUNT 5
18 U.S.C. § 113(a)(3)

On or about May 5, 2014, in McCreary County, in the Eastern District of
Kentucky, within the boundaries of United States Penitentiary McCreary, an area within
the special maritime and territorial jurisdiction of the United States,

STEPHEN D. BARNES
did assault the person of M.M.M., with a dangerous weapon, to wit: a combination lock
positioned on a shoe string. with the intent to do bodily harm. all in violation of 18 U.S.C.
§ 113¢a)(3).

COUNT 6
18 U.S.C. § 1791(a)(2)

On or about May 5, 2014, in McCreary County, in the Eastern District of
Kentucky,
ANTOINE THOMPSON,
an inmate at United States Penitentiary McCreary, a P'ederal Penal Facility, did possess a
prohibited object, to wit: an approximately eight (8) inch sharpened piece of metal with a
wrapped handle (a shank), all in violation of 18 U.S.C. § 1791(a)(2).

COUNT 7
18 U.S.C. § 1791(a)(2)

On or about May 5, 2014. in McCreary County. in the Eastern District of

Kentucky.
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STEPHEN D. BARNES,
an inmate at United States Penitentiary McCreary, a Federal Penal Facility, did possess a
prohibited object, to wit: a combination lock positioned on a shoe string, all in violation
of 18 U.S.C. § 1791 (a)(2).

COUNT 8
18 U.S.C. § 1791(a)(2)

On or about May 5, 2014, in McCreary County, in the Eastern District of
Kentucky,
GREGORY T. ABBOTT,
an inmate at United States Penitentiary McCreary. a Federal Penal Facility, did possess a
prohibited object, to wit: an approximately six (6) inch sharpened piece of plastic (a
shank), all in violation of 18 U.S.C. § 1791(a)(2).
NOTICE OF SPECIAL FINDINGS
THE GRAND JURY FURTHER CHARGES:
As to Counts | and 2, herein re-alleged and incorporated by reference, the
defendant, ANTOINE THOMPSON:
a) was 18 years of age or older at the time of the offense (18 U.S.C. § 3591 (a)):
b) intentionally killed Courtney D. Jones (18 U.S.C. § 3591(a)(2)(A));

¢) intentionally inflicted serious bodily injury that resulted in the death of the victim
(18 US.C.A. § 3591(a)(2)(B));

d) intentionally participated in an act. contemplating that the life of a person would
be taken or intending that lethal force would be used in connection with a person,
other than one of the participants in the offense. and the victim died as a direct
result of the act (18 U.S.C. § 359 1(a)Q\(C));
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e) intentionally and specifically engaged in an act of violence, knowing that the act
created a grave risk of death to a person, other than one of the participants in the
offense, such that participation in the act constituted a reckless disregard for
human life and the victim died as a direct result of the act (18 U.S.C.
§3591(a)(2)(D)):

f) has previously been convicted of a Federal or State offense punishable by a term
of imprisonment of more than | year, involving the use or attempted or threatened
use ofa firearm (18 U.S.C. § 921) against another person (18 U.S.C. §3592(c){2));

g) committed the offense in an especially heinous, cruel. or depraved manner in that
it involved torture or serious physical abuse to the victim (18 U.S.C. § 3592(c)(6));

ATRUEBILL, _.

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7“ ROBERT M. DUNCAN, JR.
UNITED STATES ATTORNEY

 
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PENALTIES
COUNTS 1&2: Death or life imprisonment. and a $250,000 fine.

COUNT 3: Any term of years or life imprisonment, not more than a $250,000
fine, and not more than five years of supervised release.

COUNTS 4&5: Not more than 10 years of imprisonment, not more than a $250.000
fine, and not more than 3 years supervised release.

COUNTS 6, 7, & 8:Not more than 5 years of imprisonment, not more than a $250,000
fine, and not more than 3 years supervised release.

PLUS: Mandatory special assessment of $100 per count.

PLUS: Restitution, if applicable.

 
